                             Case 1:18-cr-00352-MLB-RGV Document 9 Filed 09/04/18 Page 1 of 1
U.S. Department of Justice
                                                                                                                         FILED IN CHAMBERS
United States Attorney                                                                                                     U.S.D.C. Atlanta




                                                                                                                           SEP    4 2018
                                       IN THE UNITED STATES DISTRICT COURT
                                           FOR THE NORTHERN DISTRICT OF GEORGIA                                   �HATTEN,                    Clerk

                                                                   Division: Atlanta
                                                                   (USAO: 2017R00271)

                                  DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION



 COUNTY NAME:                 Fulton                                        msTrucrcout11 18 C R- Q 3 5 2-/3     -


                                                                            MAGISTRATE CASE NO.


  X Indictment                                       Information                                Magistrate's Complaint
 DATE: September 4, 2018                             DATE:                                      DATE:




                                                                       I
                               UNITED S TATES OF AMERICA                   SUPERSEDING INDICTMENT
                                          vs.                              Prior Case Number:
                             MOHA MED KAZIM MOMIN                          Date Filed:


 GREATER OFFENSE CHARGED: X Felony Misdemeanor


                                                             Defendant Information:
Is the defendant in custody?              Yes X No
Will the defendant be arrested pending outcome of this proceeding?                       Yes    X No
Is the defendant a fugitive?             Yes    X   No
Has the defendant been released on bond?                   Yes X No

Will the defendant require an interpreter?                 Yes X No




District Judge:


Attorney: Jeffrey A Brown
Defense Attorney:
